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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION
 Nautilus Insurance Company,                 )
                                             )
                                 Plaintiff,  ) C/A No. 2:22-cv-1307-RMG
                   Versus                    )
                                             ) MOSS & KUHN, P.A.’S SUPPLEMENTAL
 Richard Alexander Murdaugh, Sr., Cory       ) RULE 26(a)(3) PRETRIAL DISCLOSURES
 Fleming, Moss & Kuhn, P.A., Chad            )
 Westendorf, and Palmetto State Bank,        )
                                             )
                                 Defendants. )

        The Defendant, Moss & Kuhn, P.A., (hereinafter “M&K”), by and through its undersigned

attorneys, respectfully submits the following disclosures pursuant to Fed. R. Civ. Pro. 26(a)(3):

        1.      The name and, if not previously provided, the address and telephone number

of each witness, separately identifying those whom the party expects to present and those

whom the party may call if the need arises.

        In addition to Plaintiff and those witnesses identified by Plaintiff and other Defendants,

and without waiving the right to call additional witnesses, M&K expects to present the following

witnesses at trial:

             1. Amy Coryer Miller, c/o Jaan G. Rannik, Esq.

             Ms. Miller was the Nautilus claims adjuster for the insurance claim made by Defendant
             Murdaugh relating to the death of Gloria Satterfield.

             2. Representative of Nautilus, c/o Jaan G. Rannik, Esq.

             A representative of Nautilus is expected to testify about the insurance claim made by
             Defendant Murdaugh relating to the death of Gloria Satterfield.

             3. Chad Westendorf

             Mr. Westendorf served as the personal representative for the Estate of Gloria Satterfield
             in relation to the wrongful death claim advanced by other Defendants.

             4. John Grantland
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            Mr. Grantland was defense counsel hired by Nautilus to defend Defendant Murdaugh
            in relation not the wrongful death claim advanced by other Defendants.

            5. Cory Fleming, c/o Thomas A. Pendarvis, Esq.

            6. H. Fred Kuhn, c/o Robert H. Hood, Jr., Esq.

            M&K does not waive or limit its right to object to the presentation of any witness on

grounds of competency, relevance, materiality, privilege, confidentiality, admissibility, or any

other ground.    M&K reserves the right to call additional witnesses not identified in these

disclosures as may be necessary, including for purposes of impeachment.

       2.       The designation of those witnesses whose testimony is expected to be presented

by means of a deposition and, if not taken stenographically, a transcript of the pertinent

portions of the deposition testimony.

       M&K intends to offer its witnesses live at trial, barring unforeseen circumstances

preventing the same. In that event, M&K reserves the right to provide designations for that witness

or those witnesses. M&K further reserves the right to provide counter-designations to any

designations from Plaintiff.

       3.       An appropriate identification of each document or other exhibit, including

summaries of other evidence, separately identifying those which the party expects to offer

and those which the party may offer if the need arises.

       M&K intends to offer as exhibits any documents produced during the discovery phase of

this matter. M&K does not waive or limit its right to offer additional exhibits or to object to any

exhibit, proposed here by it or elsewhere by any party, on grounds of authenticity, competency,

relevancy, materiality, privilege, confidentiality, admissibility as evidence for any purpose, or any

other ground. M&K may offer as exhibits portions or enlargements of any exhibits identified in

these disclosures. M&K further reserves the right to introduce into evidence any documents



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produced by either party for review during discovery, documents included as exhibits to any

deposition or attached as exhibits to memoranda of law filed in this action, correspondence

between the parties or their counsel, any pleadings, affidavits, or documents either filed or served

in this action, and any exhibit listed by any party.

       M&K may also introduce into evidence illustrative demonstrative exhibits. M&K reserves

the right to use additional exhibits not identified in these disclosures based on any developments

that may occur during the course of the trial that were not anticipated and reserves the right to

counter-designate exhibits, for completeness purposes or otherwise, based upon any other party’s

pretrial designations. M&K reserves the right to offer as evidence additional documents as needed

for cross-examination, impeachment, or rebuttal. Pursuant to Fed. R. Civ. P. 26(a)(3), this list

does not include those exhibits which may be needed for impeachment. Defendant may introduce

additional exhibits that were exhibits to depositions in this matter as well as any exhibit identified

by Party, and reserves the right to do so and to supplement this list as appropriate.

                                PRELIMINARY EXHIBIT LIST:

                                           Moss & Kuhn

MOSS & KUHN CONFIDENTIAL 0356-0507 (Redacted)
MOSS & KUHN 0001
MOSS & KUHN CONFIDENTIAL 0002-0355

                                              Fleming

2021-09-07 Fleming - CHF_00001-00118
2021-09-08 Fleming - CHF_00119-00142
2021-09-09 HamptonCountyClerk_00001-00005
2021-09-09 HamptonProbate_00001-00027
2021-09-09 Internet_00001-00003
2021-09-10 Fleming - CHF_00143-00403
2021-09-17 Fleming - CHF_00404-00406
2021-09-22 Fleming - CHF_00407-00410
2021-09-28 Fleming - CHF_00411-00412
2021-09-29 Fleming - CHF_00413-00415



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2021-10-12 Bland - ESB_00001-00016
2021-12-07 Fleming - CHF_00443-00458
2021-12-08 Fleming - CHF_00460-00645
2021-12-08 Fleming - CHF_00646-01069
2021-12-09 Fleming - CHF_01070-01109
2022-01-04 Fleming - CHF_Pinckney_00001-04944
2023-06-12 Grantland - M&G000001-002453
2023-06-21 Gressette-PSB000001-208605

                                        Nautilus

NAUT_Sub000001-000480 (Trans & Exh R Laffitte)
2577-2712 UNDERWRITING FILE
MURPHY GRANTLAND
PROBATE
0001-0103 BROKER'S FILES
4793-4811 (Confidential)
4832-4860
004861-005162 - 3rd Supp RRTP 7.25.23
8.14.23 unredacted
0104-0210
0211-2576 CLAIM FILE
2713-4768 MEDICALS (CONFIDENTIAL)
2022 11 15 - JGR Ltr to all counsel enc Laffitte transcript and exhibits (Naut_Subp000001-
000480)
4769-4789 2018-19 PU386804 Policy – Murdaugh
4812-4831 WRBC Data Management Policy 2019 (CONFIDENTIAL)
Nautilus unredacted 004790-004792 - Murdaugh LLR 04-01-2019
Nautilus unredacted 002381-2564 - 2381-2564 Notes N900010096368 (Confidential)
Nautilus unredacted - various documents 8.14.23
Nautilus unredacted 000771-000772 - 2018_10_02 LLR_10_2_2018_email_n900010096368_1
Nautilus unredacted 005163-005164 - 2019_01_25
Approved_draft_Supplemental_ROR_coverage_Ext_N900010096368_1
Nautilus unredacted 005165-005166 - 2019_01_25 E-
mail_cover_letter_from_CC_coverage_Ext_N900010096368_1
Nautilus unredacted 005167-005169 - 2019_01_25 E-
mail_cover_letter_from_CC_s_secretary_coverage_Ext_N900010096368_1
Nautilus unredacted 005170 - 2019_03_05
Suggest_to_CC_a_med_cov_stmt_be_prepd_to_inform_med_of_gap_issue__1
Nautilus unredacted 005171-005172 - 2019_03_06
CC_agrees_she_should_submit_a_mediation_statement_coverage_Ext_N900010096368_1
2024 03 13 - Supp Production NAUTILUS 005136-006410
NAUTILUS Production 6-12-23
NAUTILUS PRODUCTION TO PSB 8-29-23




                                            4
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                                       Palmetto State Bank

Document Production to Nautilus 1st Roggs and 2nd RFPs
PSB Production 6 - Westendorf Emails
PSB Production 7 - Low Country Vehicle and Storage
5. PSB Document production
6. PSB Supplemental Production 12-5-2022
6-15-2023 Gressette to Rannik re Discovery and 4th Production
6-21-2023 Gressette to Rannik re Discovery and 5th Production
7-21-23 Gressette to Rannik re Completed Email Review CORRECTED
7-21-2023 Gressette to Rannik re Completed Email Review
7th Supplemental Document Production bearing Bates Numbers PSB 000001 to PSB 000294
8. PSB Supplemental Document Production 3
10. PSB Supplemental Production 4
10-17-2022 Gressette to Rannik serving PSB response to Nautilus disclosure requests .docx
10-23-2023 Gressette to Rannik with Westendorf Document
12-5-2022 Gressette to Rannik with Supplemental Production_ (002)
12-23-2022 WGL to Rannik re 3d Supp Production
PBS 233520-233525 - Lowcountry Mortgage Agreement (5th Production)
PBS 233566 (Westendorf 1 Nov 2023 Extension)

                                              Westendorf

26(a)(1)(ii)(2) Moss Kuhn Fleming law firm file on the Estate of Satterfield
26(a)(1)(ii)(3) C Westendorf Draft Depo
26(a)(1)(ii)(1) C Westendorf File
26(a)(1)(ii)(1) Emails C Westendorf to and from C Fleming

       Pursuant to Fed. R. Civ. P. 26(a)(3), this list does not include those exhibits which may be

needed for impeachment. Defendant may introduce additional exhibits that were exhibits to

depositions in this matter as well as any exhibit identified by Party and reserves the right to do so

and to supplement this list as appropriate.




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                                         HOOD LAW FIRM, LLC
                                         172 Meeting Street
                                         Post Office Box 1508
                                         Charleston, SC 29402
                                         Ph: (843) 577-4435 / Fax: (843) 722-1630
                                         Email: Info@hoodlaw.com


                                         s/ Maryrose P. Williamson
                                         Robert H. Hood, Jr. (6998)
                                         bobbyjr.hood@hoodlaw.com
                                         Maryrose P. Williamson (12802)
                                         Maryrose.williamson@hoodlaw.com
                                         Attorneys for the Defendant Moss & Kuhn, P.A.

December 9, 2024
Charleston, South Carolina




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